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Case 4:16-cv-00445-RK Document 1-1 Filed 05/17/16 Page 1 of 26

 
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Document 1-1 Filed 05/17/16 Page 2 of 26

 
Attachment to EEOC Form 5 (5/01) for Pamela Hanks

I, Pamela Hanks, bring this Charge of Discrimination against the Respondents: Anytime

Labor-Kansas, LLC; Anytime Labor-Funding,

Labor- Las Vegas, LLC (hereinafte

Manufacturing (“Florence”); Mike

and Gina Vallery (“Vallery”),
Respondent Florence is an

Discrimination (“KAAD”), K.S.A

amended (ADAAA”), 42 US.C. §

U.S.C. § 2000e-2. Respondents Ar

Anytime Labor-Springfield, LLC; Anytime Labor- Las Vegas, LLC were my joint

employers within the meaning of the

LLC; Anytime Labor-Springfield, LLC; Anytime |

r all LLCs collectively referred to as “Anytime”), Florence

Last Name Unknown (“Mike”): Amy Flowers (“Flowers”)

Employer within. the meaning of the Kansas Act Against
844-1001 et seq., the Americans with Disabilities Act, as
§ 12101 et seq., and Title VII of the Civil Rights Act, 42
ytime Labor-Kansas, LLC; Anytime Labor-Funding, LLC;
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Kansas Act Against Discrimination (“KAAD”), K.S.A §44-

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KAAD because he is a Supervisor. Respondent Flowers is

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is an employer within the meaning of the KAAD because she is a Supervisor.

I was an employee of Respondents and.a member of a protected class pursuant to the

KAAD, ADAAA and the anti-retalia

tion provisions thereof, due to my disability and gender

(female). Iam disabled pursuant to the KAAD and ADAAA because I suffer from dyslexia and a

back injury (lumbar Strain) due to

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Case 4:16-cv-00445-RK

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give rise to my charges of disability discrimination, gender discrimination and retaliation are as

follows:

I began working for Respondents Anytime in February 2014, as a temp employee in

Manhattan, Kansas. Respondents Anytime are temp agencies where Respondents Anytime place

temp employees with customers. Sdon thereafter, Respondents Anytime placed me at a job with

their customer Respondent Florenct. | worked in the production of mailboxes at Respondent

Florence, Respondent Florence woulld make comments that I was “slow.” On or about February

16, 2014, as I was taking a screw out of a mailbox, I fell and landed on my back and I heard

Something pop. I told my Supervisor! Respondent Mike, that I had hurt my back.

The next day Respondents Anytime called me and told me that I didn’t need to go to

work at Respondent Florence anymbre. Subsequently, I called Respondent Florence and was

told, “We don’t need you anymore because you got hurt on us.” My work comp doctor

diagnosed me with a lumbar strain. | For the next five months, I called Respondents Anytime

Several times a week to see if therd were any jobs I could g0 work. Respondents Anytime

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Class Allegations

fam under the information hnd belief the Respondents have engaged in nationwide

terminations, layoffs and discriminatdry conduct based on disability and/or gender beginning in

2014 and continuing through the present.

Respondents engaged in a pattern or practice of disability discrimination or gender

discrimination in connection with thé terminations, layoffs and refusals to hire for this time

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frame that spans froth 2014 until the present;

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3. For all persons having a disability or who

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In sum, I am a member of f protected class ‘under the KAAD, ADEA, ADAAA, Title

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and dyslexia) and gender (female). I was singled out, treated differently, and ultimately
terminated due to my disability and/br gender. As a result of Respondents’ actions, I am seeking
back-pay, front-pay, emotional distress damages, attorneys’ fees, punitive damages, and any

other remedies the Commission deerhs appropriate.

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Case 4:16-cv-00445-RK Document 1-1 Filed 05/17/16 Page 7 of

 
Attachment td EEOC Form 5 (5/01) for Pamela Hanks
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Labor-Kansas, LLC; Anytime Labpr-Funding, LLC; Anytime Labor-Springfield, LLC; Anytime .
Labor- Las Vegas, LLC (hereinafter all LLCs collectively referred to as “Anytime”), Florence
Manufacturing (“Florence”); Mika Last Name Unknown (“Mike”); Amy Flowers (“Flowers”)
and Gina Vallery (“Vallery”).
Respondent Florence is an employer within. the meaning of the Kansas Act Against
Discrimination (“KAAD”), K.S.A| §44-1001 et seq., the Americans with Disabilities Act, as
amended (ADAAA”), 42 U.S.C. §§ 12101 et seq., and Title VII of the Civil Rights Act, 42
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Case 4:16-cv-00445-RK Document 1-1 Filed 05/17/16 Page 8 of 26

 
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2. All were terminated or refused to be hired by Respondents during the class time

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5. Respondents’ Human Resources Department inadequately responded to disability
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adequately train and/or monitor executives and/or management with regard to
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7. Respondents’ executives instructed managers to not hire out temporary employees
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EEOC Form 5 (11709)

 

CHARGE OF DISCRIMINATION

 

 

 

 

 

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Charging Party Signature

' declare under penalty of perjury that the above is tua nd correct,

 

 

 

 

 

Case 4:16-cv-00445-RK Document 1-1 Filed 05/17/16 Page 17 of 26

 
Attachment to EEOC Form 5 (S/01) for Pamela Hanks

I, Pamela Hanks, bring this Charge of Discrimination against the Respondents: Anytime
Labor-Kansas, LLC; Anytime Labot-Funding, LLC; Anytime Labor-Springfield, LLC; Anytime .
Labor- Las Vegas, LLC (hereinaftet all LLCs collectively referred to as “Anytime”), Florence
Manufacturing (“Florence”); Mike Last Name Unknown (“Mike”); Amy Flowers (“Flowers”)
and Gina Vallery (“Vallery”).

Respondent Florence is an employer within. the meaning of the Kansas Act Against
Discrimination (“KAAD”), K.S.A §44-1001 et seq., the Americans with Disabilities Act, as
amended (““ADAAA”), 42 U.S.C. §§ 12101 et ‘se€q., and Title VII of the Civil Rights Act, 42
U.S.C. § 2000e~2. Respondents Anytime Labor-Kansas, LLC; Anytime Labor-Funding, LLC;
Anytime Labor-Springfield, LLC; Anytime Labor- Las Vegas, LLC were my joint and solo
employers within the meaning of the Kansas Act Against Discrimination (“KAAD”), K.S.A §44-
1001 et seq., the Americans with Disdbilities Act, as amended (“ADAAA”), 42 U.S.C. §§ 12101
et seq., and Title VH of the Civil R ghts Act, 42 U.S.C. § 2000c~2. Respondent Mike is an
employer within the meaning of the KAAD because he is a Supervisor. Respondent Flowers is
an employer within the meaning of the KAAD because she is a Supervisor. Respondent Vallery
is an employer within the meaning of the KAAD because she is a supervisor.

I was an employee of Respondents and.a member of a protected class pursuant to the
KAAD, ADAAA and the anti-retaliation provisions thereof, due to my disability and gender
(female). I am disabled pursuant to the/KAAD and ADAAA because I suffer from dyslexia and a
back injury Gumbar strain) due to a workplace injury. I'am able to perform the essential

functions of my position with or withput reasonable accommodations. The specific (Bs i

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Case 4:16-cv-00445-RK Document 1-1 Filed 05/17/16 Page 18 of 26

 
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and otherwise treated non-disabled or male employees more favorably than disabled or female

employees, including (but not limited to) the following specific actions:
1. Targeting disabled

or female employees for termination and refusing to hire

disabled or female pmployees because they were more likely to have potential

workers compensation claims which costs Respondents money;
2. Holding disabled of female employees to a higher standard of conduct and

“writing up” disabled or female employees for infractions their younger peers

were not disciplined |for;
3. Preventing advancements in employment for disabled or female employees;
During the class timeline, disabled or female employees were terminated for
pretextual reasons ndn-disabled ot male employees were not terminated for.
Respondents’ Human Resources Department inadequately responded to disability
or gender discriminatory conduct, including that in connection with terminations.
6. Respondents’ Human Resources Department and/or other personnel failed to
adequately train and/or monitor executives and/or management with regard to
termination decisions to assure that disability or gender discriminatory conduct
did not occur.
7. Respondents’ executives instructed managers to not hire out temporary employees
that had disabilities.
8. Respondents’ executives instructed managers to not hire out temporary employees
who were female for fertain job fields and/or for certain companies.

In addition to the foregoing fhcts, members of the class are “similarly situated” in that:

1. All have a disability dr are female;

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2. All were terminated or refused to be hired by Respondents during the class time

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In sum, I am a member of
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